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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DISTRICT



UNITED STATES OF AMERICA                    )
                                            )
v.                                          )                     4:11CR00228-02 JMM
                                            )
PEDRO MIGUEL TORRES                         )


                                           ORDER

       The defendant’s motion for continuance (docket entry no. 80) is granted, and the hearing

is re-scheduled for Tuesday, May 21, 2013, at 3:00 p.m.

       IT IS SO ORDERED this 24 day of April, 2013.




                                                UNITED STATES MAGISTRATE JUDGE
